











					






IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,245






EX PARTE ADRIAN CHAVEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM THE 183RD JUDICIAL DISTRICT COURT


OF HARRIS COUNTY





	Price, J., delivered the opinion of the Court in which Keller, P.J., and Meyers,
Keasler, Hervey and Cochran, JJ., joined.  Holcomb, J., filed a dissenting opinion
in which Womack and Johnson, JJ., joined. 


O P I N I O N



	We filed and set this post-conviction application for writ of habeas corpus, brought
pursuant to Article 11.07 of the Code of Criminal Procedure, (1) in order to consider the
recommendation of the convicting court that the applicant receive a new punishment
proceeding on the basis of evidence of actual innocence.  The convicting court did not
recommend that the applicant be granted a new guilt-phase proceeding.  We hold that, at least
on the facts presented in this application, a new punishment proceeding is not warranted
under the guise of actual innocence, or any other due-process principle, and we deny relief. 
THE FACTS


	The applicant was indicted and tried for capital murder, but convicted of the lesser
offense of aggravated robbery, and sentenced to fifty-five years in prison.  His conviction
was affirmed on direct appeal. (2)  The case involved the home invasion of a drug dealer, who
was fatally shot during the course of the incident.  Two witnesses who were present testified
at trial that the applicant was the shooter.  One claimed that he recognized the applicant
when, at one point, the applicant pulled down the bandana that had been covering his face. 
The other identified the applicant because he claimed to recognize the applicant's voice and
his physique.  The applicant testified to an alibi, but he was unable to produce any
corroborating witnesses.

	While the jury was out deliberating the applicant's guilt or innocence, the applicant
informed his trial counsel for the first time that he had indeed been involved in the robbery,
but only as the wheel-man rather than one of the home-invaders.  He denied being the
shooter.  At the applicant's request, his trial counsel arranged a meeting with the prosecutor
so that they could convey this information to her.  Before the applicant and his counsel could
conclude their meeting with the prosecutor, however, the jury returned its verdict of guilty. 
Later, after the jury returned its punishment verdict and the trial court pronounced sentence,
the applicant's trial counsel conducted an informal colloquy on the record with the applicant
to establish these facts.

	In the course of its subsequent investigation, the State identified other witnesses,
previously unknown to the State, who could testify that two other individuals had admitted
to perpetrating the home invasion, one of whom was the actual shooter in the case rather than
the applicant.  Both of those individuals were subsequently charged with, and pled guilty to,
aggravated robbery, and each was assessed a thirty-year sentence.  Even so, both of the
witnesses who originally identified the applicant as the shooter in the case have submitted
affidavits in which they assert that they still believe, based upon their perceptions of the
event, that the applicant is the one they saw kill the drug dealer, and that they would testify
again to that effect.  The prosecutor at the applicant's trial has also submitted an affidavit in
which she asserts that at the time of trial, she had no knowledge of any evidence that the
applicant was not the shooter, and no reason to disbelieve or distrust the witnesses who
testified against him at his trial.

	In its recommended findings of fact and conclusions of law, the convicting court has
concluded that, because of the "newly discovered evidence" that someone other than the
applicant was the shooter, the applicant is entitled, not to a new trial, but to a new
punishment proceeding. (3)  "The totality of the circumstances undermines the [convicting]
court's confidence in the sentence of 55 years.  See Kyles v. Whitley, 514 U.S. 419 (1995)." 
We filed and set the cause to consider this recommendation.  Especially given the particular
circumstances of this case, we decline to follow it.

THE LAW


	In Ex parte Elizondo, (4) this Court held for the first time that, because the incarceration
of an innocent person violates the Due Process Clause of the Fourteenth Amendment, a bare
claim of actual innocence is cognizable in state post-conviction habeas corpus proceedings. 
We recognized, however, that in order to obtain relief on this basis, a habeas applicant must
satisfy an "extraordinarily high" standard of proof. (5)  He must "unquestionably establish" his
innocence; that is to say, he must show by clear and convincing evidence that, presented with
both the inculpatory evidence at trial and the newly discovered or available evidence of
innocence, no reasonable juror would have convicted him. (6)  Utilizing this standard, we
granted Elizondo a new trial, and have subsequently granted other new trials, albeit rarely,
on the basis of actual innocence. (7)  And in Ex parte Tuley (8) we held that a guilty plea does not
foreclose a habeas applicant from asserting actual innocence.

	While recognizing that certain principles of due process also apply at the punishment
phase of a non-capital trial, we have hesitated to apply the nomenclature of "actual
innocence" to due process violations that occur at the punishment phase.  For example, a
plurality of the Court eschewed the particular rubric of actual innocence, per se, when it held,
in Ex parte Carmona, (9) that the revocation of deferred-adjudication community supervision
based upon admittedly perjured testimony violated the applicant's due process rights. (10)  And
most recently, in Ex parte Rich, (11) we resisted applying an actual-innocence rationale to hold
that the applicant was "actually innocent of being an habitual felony offender . . . because of
newly discovered evidence showing that he is being wrongfully imprisoned for a criminal
history he did not have." (12)  We observed that enhancement as an habitual offender based
upon prior convictions that were not, in fact, felonies "does not involve the traditional
hallmarks of actual innocence-newly discovered evidence showing that the defendant is
being wrongfully imprisoned for a crime that he did not commit." (13)  We therefore employed
an alternative basis to grant Rich relief.  The question before us in the instant case is whether 
the applicant is entitled to a new punishment proceeding, either under our "actual innocence"
precedents, as the convicting court has recommended, or any other operative principle of due
process.

ANALYSIS


	To begin with, we believe it is odd to speak in terms of being "actually innocent" of
a particular punishment (say, fifty-five years) that is prescribed within the statutory range for
the offense upon which an applicant has been convicted.  We have frequently observed that
the task of setting a particular length of confinement within the prescribed range of
punishment is essentially a "normative" judgment. (14)  Aside from a few specific instances
where the range of punishment depends upon the determination of discrete facts, (15)
"[d]eciding what punishment to assess is a normative process, not intrinsically factbound." (16) 
Indeed, we have described the sentencer's discretion to impose any punishment within the
prescribed range to be essentially "unfettered." (17)  Subject only to a very limited, "exceedingly
rare," and somewhat amorphous Eighth Amendment gross-disproportionality review, (18) a
punishment that falls within the legislatively prescribed range, and that is based upon the
sentencer's informed normative judgment, is unassailable on appeal.  For this reason, the
concept of an applicant who may be "actually innocent" of a fifty-five year prison sentence
is, to say the least,  peculiar. (19)  We therefore eschew, as unhelpful to our analysis, the
particular language of "actual innocence" as it might apply to the sentencer's assessment of
punishment within the legislatively prescribed range.

	But this does not end our due process analysis-far from it.  What if the sentencer's
normative judgment has been affirmatively misinformed?  Putting aside the rubric of "actual
innocence" for the moment, do principles of due process dictate that we hold that the first
punishment proceeding was intolerably unfair and that a second punishment proceeding is
therefore in order? (20)  And does it matter, for due-process purposes, whether the fact that the
sentencing entity was affirmatively misinformed can be attributed to some act or omission
on the part of the State, or that the defendant may have had some complicity in generating
the misinformation, or was aware of it but failed to correct it at trial when he reasonably
could have?

	The duty of the State to disclose material exculpatory evidence pertains to the
punishment phase as well as the guilt phase of a criminal trial. (21)  Moreover, the Due Process
Clause "makes the good or bad faith of the State irrelevant when the State fails to disclose
to the defendant material exculpatory evidence." (22)  Malfeasance of this kind on the part of
any member of the prosecution "team" may be attributable to the State for due-process
purposes. (23)  The record in this cause does not reveal any act or omission on the part of the
State or any of its agents that caused the applicant's sentencing jury to be misinformed about
the true nature of his involvement in the offense.  We fail to perceive any unfairness to the
applicant on that account.

	Furthermore, even in the context of the failure to disclose exculpatory evidence, we
have held that there is no due process violation under circumstances in which the defendant
himself already knew about the exculpatory facts. (24)  In the instant case, the applicant knew
the true extent of his involvement in the offense.  Had he disclosed that information to his
trial attorney sooner than he did, counsel could have attempted to investigate the
circumstances that corroborated the applicant's account, to assure that the jury would be
informed of all the evidence tending to show he was not the shooter. (25)  Alternatively, the
applicant's attorney might have attempted to broker a plea bargain by which the applicant
could have timely cooperated with the State in identifying the actual home-invaders, and
perhaps have obtained a sentence that was at least no greater than the thirty-year sentences
that the two actual home-invaders received, once they were belatedly discovered and pled
guilty.  Instead, the applicant affirmatively misled his own counsel and chose to testify,
apparently falsely, to an alibi in an attempt to escape criminal liability altogether.  Thus, any
misinformation the jury received to inform its discretionary decision with respect to what
punishment to assess the applicant within the statutorily prescribed range would appear to
have been his own fault, if anyone's.  We cannot conclude on these facts that he received an
unfair punishment proceeding.

	On top of these considerations, it is doubtful that new evidence that the applicant was
not the actual shooter could be regarded as "material" on the facts of this particular case. 
Borrowing once again from the due-process vernacular in the context of the suppression of
exculpatory punishment evidence, we do not think there is a reasonable probability that its
disclosure would have changed the jury's assessment of punishment. (26)  That the jury
acquitted the applicant of capital murder and murder suggests that the jurors did not believe
he was the shooter in any event; otherwise, they would not have had any rational basis to
acquit him of the homicide offenses but still convict him (presumably as a party) of
aggravated robbery. (27)  Because it appears that the jury in its capacity as the sentencing entity
did not believe the applicant was the shooter in any event, we do not believe there is a
reasonable probability-that is to say, a probability sufficient to undermine our confidence in
the outcome-that the jury would have assessed anything other than the fifty-five-year
sentence that it actually did assess. (28)

	Finally, the witnesses who identified the applicant as the shooter at his trial still
believe he was the shooter and have averred in their affidavits that they would again testify
to that effect.  It would be difficult to conclude under these circumstances that the applicant
has shown by clear and convincing evidence that no reasonable juror would find he was the
shooter in a retrial. (29)  It is not, therefore, a foregone conclusion that the applicant has
"unquestionably established" that his first jury was misinformed with respect to whether he
was the shooter in this offense.

	We reiterate that the concept of actual innocence does not translate in a logical way
to the factfinder's determination of what punishment to assess within a legislatively
prescribed term of years.  None of this is to say that principles of due process do not apply
at the punishment phase of a non-capital trial.  In some future case in which newly
discovered or newly available evidence arises that casts substantial doubt upon the reliability
of the sentencer's assessment of a particular term of years, we may well hold that the accused
should receive a new punishment proceeding.  But not on the facts of this case.

CONCLUSION


	For the reasons given, we decline to follow the convicting court's recommendation
that the applicant be granted a new punishment hearing.  The relief sought is therefore
denied. (30)


Delivered:	November 22, 2006	

Publish
1. 	 Tex. Code Crim. Proc. art. 11.07.
2. 	 Chavez v. State, No. 14-98-696-CR (Tex. App.--Houston [14th], delivered May 11, 2000,
pet. ref'd).
3. 	 The jury acquitted the applicant of capital murder and murder.  The trial court instructed the
jury on the law of parties under Section 7.02(a)(2) of the Texas Penal Code, but not Section 7.02(b). 
The witnesses who identified the applicant as the shooter were impeached, and the jury might
rationally have chosen to disbelieve them.  If the jury also believed the applicant did not have any
intent to facilitate a murder, but only a robbery, they could rationally have acquitted the applicant
of capital murder and murder, in the absence of a "conspiracy" parties charge under Section 7.02(b). 
At the same time the jury could rationally have disbelieved the applicant's testimony that he had no
involvement in the robbery at all.  Other evidence at trial showed that the applicant had indeed been
involved in the planning of the robbery.  Thus, even if the applicant was only the wheel-man in the
instant offense, as the evidence now preponderates to show and the State seems to concede, a rational
jury could nevertheless have found him guilty as a party to the aggravated robbery.  For this reason,
we agree with the convicting court's implicit assessment that the applicant has not shown actual
innocence of the offense itself.  We did not file and set the cause to address that question.
4. 	 947 S.W.2d 202 (Tex. Crim. App. 1996).
5. 	 Id. at 208.
6. 	 Id, at 209.
7. 	 E.g., Ex parte Harmon, 116 S.W.3d 778 (Tex. Crim. App. 2003); Ex parte Thompson, 153
S.W.3d 416 (Tex. Crim. App. 2005).
8. 	 109 S.W.3d 388 (Tex. Crim. App. 2002).
9. 	 185 S.W.3d 492 (Tex. Crim. App. 2006) (plurality opinion).
10. 	 Indeed, in his concurring opinion, Judge Womack expressly invoked Elizondo as the more
appropriate basis for relief in Carmona.  Id. at 497 n.1.
11. 	 194 S.W.3d 508 (Tex. Crim. App. 2006).
12. 	 Id. at 517 (Womack, J., concurring).
13. 	 Id. at 515.
14. 	 Sunbury v. State, 88 S.W.3d 229, 233 (Tex. Crim. App. 2002); Mendiola v. State, 21 S.W.3d
282, 285 (Tex. Crim. App. 2000); Rogers v. State, 991 S.W.2d 263, 265 (Tex. Crim. App. 1999);
Miller-El v. State, 782 S.W.2d 892, 895-96 (Tex. Crim. App. 1990); Murphy v. State, 777 S.W.2d
44, 63 (Tex. Crim. App. 1988) (plurality opinion on State's motion for rehearing).
15. 	 See Murphy v. State, supra, at 62-3 n.10.
16. 	 See note 14, ante.
17. 	 Miller-El v. State, supra, at 895.
18. 	 See Lockyer v. Andrade, 538 U.S. 63, 72 (2003) (that a "gross-disproportionality" principle
applies to sentences of terms of years under the Eighth Amendment is "clearly established" federal
law, but Supreme Court case law on the subject "exhibit[s] a lack of clarity regarding what factors
may indicate gross disproportionality.").  See also, e.g.: Thomas v. State, 916 S.W.2d 578 (Tex.
App.-- San Antonio 1996, no pet.); Johns v. State, 80 S.W.3d 631 (Tex. App.-- Tyler 2002, no
pet.); Davis v. State, 125 S.W.3d 734 (Tex. App.-- Texarkana 2003, no pet.).
19. 	 It is true that the United States Supreme Court has recognized a very narrow exception to
the principle of finality in federal habeas corpus proceedings for claims of "actual innocence of the
death penalty."  A federal habeas applicant in a capital case who can show he is "actually innocent"
of the death penalty may raise an underlying federal constitutional claim in federal habeas
proceedings, even though he has procedurally defaulted that claim by failing to raise it in state
proceedings or in an initial federal writ.  Sawyer v. Whitley, 505 U.S. 333 (1995).  But in order to
establish "actual innocence of the death penalty" for these purposes, a federal habeas applicant must
meet the onerous burden of showing "by clear and convincing evidence that but for constitutional
error, no reasonable juror would find him eligible for the death penalty[.]" Id. at 348.  The Supreme
Court has yet to recognize a bare claim of "actual innocence of the death penalty."


	In any event, even in the Sawyer context, "actual innocence of the death penalty" does not
extend to a showing of evidence that merely informs a jury's discretionary authority to assess a
punishment less than death.  It extends only to evidence that negates the statutorily specified
aggravating factors that elevate the offense to capital status, since such evidence would establish that
the federal capital habeas applicant was not even eligible for the death penalty, and the jury would
have no discretion to assess death.  Id. at 340-348.  Thus, even in the capital context, "actual
innocence" does not apply to purely discretionary, non-fact-bound aspects of the sentencing decision.
20. 	 It is important to keep in mind in addressing this question that the Eighth Amendment does
not mandate individualized sentencing in non-capital cases.  See Harmelin v. Michigan, 501 U.S.
957, 995 &amp; 1006 (1991) (Scalia, J., announcing judgment of the Court; Kennedy, J., concurring). 
Thus, apart from the amorphous "gross-disproportionality" standard, see note 18, ante, the Eighth
Amendment, as distinguished from the Due Process Clause, imposes no apparent limitation on the
discretion of the sentencing entity, be it judge or jury, including any requirement that punishment
be informed by the particular circumstances of the offense and/or the offender.
21. 	 E.g., Strickler v. Greene, 517 U.S. 263, 280 (1999).
22. 	 Strickler v. Greene, supra;  Arizona v. Youngblood, 488 U.S. 51, 57 (1988);  Ex parte
Mitchell, 977 S.W.2d 575, 578 (Tex. Crim. App. 1997).
23. 	 Kyles v. Whitley, 514 U.S. 419, 437-38 (1995);  Ex parte Mitchell, supra;  Ex parte
Castellano, 863 S.W.2d 476 (Tex. Crim. App. 1993);  Ex parte Adams, 768 S.W.2d 281 (Tex. Crim.
App. 1989).
24. 	 Harris v. State, 453 S.W.2d 838, 839 (Tex. Crim. App. 1970); Carmona v. State, 698
S.W.2d 100, 105 (Tex. Crim. App. 1985);  Havard v. State, 800 S.W.2d 195, 204-5 (Tex. Crim.
App. 1989).  See Rector v. Johnson, 120 F.3d 551, 560 (5th Cir. 1997).  See also George E. Dix &amp;
Robert O. Dawson, 42 Texas Practice: Criminal Practice and Procedure, § 22.29 (2nd Ed.
2001), at 27 ("If the defense was actually aware of exculpatory evidence, the State's nondisclosure
does not give rise to a due process violation.  The defendant's right to a fair trial cannot be affected
by the nondisclosure of information already known to the defense.")
25. 	 It is true that the neither the applicant nor his attorney knew prior to trial about the witnesses
who would later attest that the actual home-invaders admitted their involvement in the shooting.  But
then again, neither did the State until it followed up on the applicant's own belated admission.
26. 	 United States v. Bagley, 473 U.S. 667, 682 (1985).
27. 	 See note 3, ante.
28. 	 It is true that his co-defendants each received thirty-year sentences.  But they each pled
guilty, thus saving the State the onus and expense of full-blown jury trials.  Who is to say that the
applicant could not have had the benefit of such a deal had he chosen to be truthful with his own
attorney and cooperate with the State sooner than he did, rather than rolling the dice and proceeding
to trial with an apparently false and uncorroborated alibi defense, seeking to avoid criminal
responsibility altogether?
29. 	 See Elizondo v. State, supra, at 209.
30. 	 The applicant's other claims, upon which we did not file and set, are likewise denied.


